      Case: 3:20-cv-00024-RAM-RM Document #: 9 Filed: 05/15/20 Page 1 of 3




                              DISTRICT COURT FOR THE DISTRICT OF
                                      THE VIRGIN ISLANDS
                              DIVISION OF ST. THOMAS AND ST. JOHN

DAVID WHITAKER                                   )
                                                 )
                 Plaintiff,                      )
                                                 )
                 v.                              )         Civil Action No. 3:20-cv-00024
                                                 )
JAMES MARTIN                                     )
                                                 )
                    Defendant.                   )

                               VERIFIED MOTION TO WITHDRAW

        COMES NOW, Robert V. Goldsmith, III, Esq., as counsel for Plaintiff, David A. Whitaker,

pursuant to Rule 5.2 of the Local Rules of Civil Procedure of the District Court of the Virgin Islands

and moves for leave of the Court to withdraw as counsel for Plaintiff and as grounds for the same

sates as follows:

        1.       The undersigned has conferred with Plaintiff’s additional legal counsel on this

             matter, Joseph Balliro, Esq. and the undersigned has agreed to withdraw in this matter

             with the filing of this Motion to Withdraw.

        2.       The undersigned moves this Honorable Court to stay proceedings for sixty (60) days

             or more to allow Plaintiff to secure new counsel and asserts that sixty (60) days or more

             will be required due to the constraints the world Covid-19 pandemic has placed on the

             ability of courts, attorneys, and parties to preside over, prosecute, and defend cases.

        WHEREFORE, based on the foregoing, Counsel requests that the Court enter the Order

filed contemporaneously herewith and attached hereto as Exhibit A, allowing counsel to withdraw

from the representation of Mr. Whitaker in the above-captioned matter and staying proceedings in

this matter for the time prescribed by the Court.
     Case: 3:20-cv-00024-RAM-RM Document #: 9 Filed: 05/15/20 Page 2 of 3




I swear/affirm under oath that I have read the foregoing Verified Motion and that the statements set
forth therein are true and correct to the best of my knowledge.

                                      Respectfully submitted:




Date: May 15, 2020                           s/ Robert Goldsmith___
                                      Robert V. Goldsmith, III
                                      PO Box 608
                                      St. Thomas, VI 00804
                                      256-974-1111
                                      tgoldsmith@legal-cg.com
Case: 3:20-cv-00024-RAM-RM Document #: 9 Filed: 05/15/20 Page 3 of 3
